Fundamentally this inquiry does not concern the application or interpretation of a statute, but the scope of that part of Section 2, Article XII of the Constitution which provides: "Land and improvements thereon shall be taxed by uniform rule according to value."
Hence we have in question, among other items, steel structures rising high into the air and weighing many tons, which are held herein by the majority to be personal property. These structures are set on and bolted to specially designed and constructed concrete foundations, and are connected with other parts of the refinery by pipes or conduits some of which run over-ground and others underground through tunnels. Unprotected from the weather by any housing and standing there as permanent rather than temporary edifices on land which has been devoted to oil-refinery purposes over a period of many years, these structures constitute an essential portion of a large refinery system. In our judgment they are as much a part of the real estate as the buildings or fences, and under the constitutional provision should be taxed as such.
WEYGANDT, C.J., and ZIMMERMAN, J., concur in the foregoing dissenting opinion. *Page 523 